
719 S.E.2d 19 (2011)
STATE of North Carolina
v.
Clyde Kirby WHITLEY.
No. 168P09-7.
Supreme Court of North Carolina.
November 9, 2011.
Clyde Kirby Whitley, for Whitley, Clyde Kirby.
Kathleen N. Bolton, Assistant Attorney General, for State of NC.
Robert A. Evans, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 5th of October 2011 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 9th of November 2011."
